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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 HOLLEY J. CLARK,                                   )    CASE NO.
                                                    )
 Individually and on behalf of all others           )    JUDGE
 similarly situated,                                )
                                                    )    PLAINTIFF’S CLASS ACTION
                Plaintiff,                          )    AND COLLECTIVE ACTION
                                                    )    COMPLAINT
        v.                                          )
                                                    )    (Jury Demand Endorse Hereon)
 THE CLEVELAND CLINIC                               )
 FOUNDATION                                         )
 d/b/a CLEVELAND CLINIC                             )
 c/o Statutory Agent                                )
 CT Corporation System                              )
 4400 Easton Commons Way, Suite 125                 )
 Columbus, Ohio 43219                               )
                                                    )
                 Defendant.                         )

       Plaintiff Holley J. Clark, on behalf of herself and all others similarly situated, for her

Class and Collective Action Complaint (“Complaint”) against Defendant The Cleveland Clinic

Foundation, also doing business as Cleveland Clinic (hereinafter also referred to as “Cleveland

Clinic” or “Defendant”), states and alleges the following:

                                        INTRODUCTION

       1.      The Fair Labor Standards Act of 1938, as amended (the “FLSA”), 29 U.S.C. §

201, et seq., is a broadly remedial and humanitarian statute designed to correct “labor conditions

detrimental to the maintenance of the minimum standard of living necessary for health,

efficiency, and general well-being of workers[,]” 29 U.S.C. § 202(a), as well as “to protect all

covered workers from substandard wages and oppressive working hours.” Barrentine v. Ark Best

Freight Sys. Inc., 450 U.S. 728, 739 (1981). The FLSA required Defendant Cleveland Clinic to

pay all non-exempt employees at least one and one-half times their regular rate of pay for all
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hours worked in excess of forty (40) hours each workweek. 29 U.S.C. § 207. Ohio statutory

and/or common law further required the payment of overtime wages and/or contained other

compensation requirements and/or penalties. See O.R.C. §§ 4111.03, 4111.10, 4113.15(A),

2307.60. Plaintiff brings this case on her own behalf and on behalf of those similarly situated,

both under federal and state law, to redress Defendant’s violations of these laws, as is more fully

set forth herein.

        2.      With Count One of this Complaint, Plaintiff seeks to prosecute her FLSA claims

as an FLSA collective action pursuant to 29 U.S.C. § 216(b), which provides that “[a]n action to

recover the liability… may be maintained against any employer … by any one or more

employees for and on behalf of [herself] or themselves and other employees similarly situated…

[who] gives [her] consent in writing to become such a party and such consent is filed in the court

in which such action is brought” on behalf of herself and such other members of a class of

persons who subsequently file consents to join the action, as is more specifically defined in

paragraph 84 below (the “FLSA Collective”).

        3.      With Counts Two, Three, Four, and Five of this Complaint, Plaintiff brings claims

as a class action under Fed. R. Civ. P. 23 on behalf of herself and other members of a class of

persons who assert claims under O.R.C. §§ 4111.03, 4111.10, 4113.15(A), 2307.60, and Ohio

common law unjust enrichment, as is more specifically defined in paragraph 97 below (the

“State Law Class”).1

        4.      Plaintiff, on her own behalf and on behalf of the FLSA Collective and the State

Law Class, seeks compensatory, statutory, exemplary, and punitive damages, declarative and




1
 Some members of the FLSA Collective may also be members of the State Law Class, as both
are defined hereinafter, as is the Named Plaintiff.


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injunctive relief, as well as attorneys’ fees, costs, and such other relief as the Court may deem

just and appropriate.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28 U.S.C. §

1331 and 29 U.S.C. § 216(b).

       6.      This Court has supplemental jurisdiction over Plaintiff’s claims under Ohio law

because those claims are so related to the FLSA claims as to form part of the same case or

controversy. 28 U.S.C. § 1367.

       7.      Venue is proper in this District and division pursuant to 28 U.S.C. § 1391(b)

because Defendant resides in this District and division, has its principal place of business in this

District, and/or because all or a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred here.

       8.      This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

                                             PARTIES

       9.      Plaintiff Clark is an individual, a citizen of the United States, and a resident of the

State of Ohio. Plaintiff Clark has completed an “Opt-In Consent Form,” which is attached as

Exhibit A to this Complaint, and which is incorporated by reference herein (providing, in part,

that “I hereby authorize the filing and prosecution of claims in my name and on my behalf, to

contest the failure of THE CLEVELAND CLINIC FOUNDATION, and/or its parents,

subsidiaries, predecessors, successors, ownership, affiliated, and related entities, to pay me

proper wages, including but not limited to overtime wages, under federal and/or state law.”).




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           10.   Defendant The Cleveland Clinic Foundation, doing business as Cleveland Clinic,

is an Ohio corporation for non-profit with its principal place of business / main campus at 9500

Euclid Ave., Cleveland, Ohio 44195.2 According to records maintained by the Ohio Secretary of

State, Defendant The Cleveland Clinic Foundation’s Statutory Agent for service of process is CT

Corporation System, 4400 Easton Commons Way, Suite 125, Columbus, Ohio 43219.3

           11.   Defendant The Cleveland Clinic Foundation also controls the registered trade

name “Cleveland Clinic.” 4

                                   FACTUAL ALLEGATIONS

                 Defendant’s Business and Defendant’s Status as an Employer

           12.   Defendant Cleveland Clinic is a multinational healthcare provider, and represents

itself as a “multispecialty academic medical center that integrates clinical and hospital care with

research and education.”5 During the relevant period, Cleveland Clinic has represented itself as

“one of the world's largest and best healthcare systems, with 80,642 caregivers, 23 hospitals and

276 outpatient facilities in locations around the globe,”6 including with at least 256 locations in

Ohio alone,7 and generated $34,545,075,000 in “Economic Impact” in 2019 in the United

States.8




2
  See https://my.clevelandclinic.org/locations/directions/231-cleveland-clinic-main-campus (last
accessed Jan. 30, 2025).
3
  https://businesssearch.ohiosos.gov?=businessDetails/95560 (last accessed Jan. 30, 2025).
4
  https://businesssearch.ohiosos.gov?=businessDetails/1593540 (last accessed Jan. 30, 2025).
5
  https://my.clevelandclinic.org/about (last accessed Jan. 30, 2025).
6
  https://my.clevelandclinic.org/about/overview/who-we-are/facts-figures (last accessed Jan. 30,
2025).
7
  https://my.clevelandclinic.org/locations?q=ohio (last accessed Jan. 30, 2025).
8
  https://my.clevelandclinic.org/about/overview/who-we-are/facts-figures (last accessed Jan. 30,
2025).


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       13.     Defendant is an “employer” of Plaintiff, and the members of the FLSA Collective

and the State Law Class, within the meaning of the FLSA, 29 U.S.C. § 203(d) and Ohio law,

O.R.C. §§ 4111.03, 4111.10, 4113.15(A).

       14.     Defendant utilizes non-exempt employees, including Plaintiff, and the members

of the FLSA Collective and State Law Class, in furtherance of its business purposes.

       15.     At all times relevant, Defendant was an enterprise within the meaning of 29

U.S.C. § 203(r).

       16.     At all times relevant, Defendant was an enterprise engaged in commerce or in the

production of goods for commerce within the meaning of 29 U.S.C. § 203(s)(1).

       17.     Defendant operates and controls an enterprise engaged in commerce, with annual

gross volume of business exceeding $500,000.00.

       18.     At all times relevant, Defendant was an employer of Plaintiff, the members of the

FLSA Collective, and the State Law Class as Defendant exercised the power to hire or fire

employees; supervised and controlled the employees’ work or conditions of employment;

determined employees’ rates and methods of payment; and maintained or was required to

maintain records, including employment records.

      Plaintiff’s and the Members of the FLSA Collective’s and the State Law Class’s
                     Non-Exempt Employment Statuses with Defendant

       19.     Plaintiff Clark has been employed by Defendant since approximately 2013 as a

non-exempt employee, including since approximately May 2021 as a remote worker with the job

title of case management assistant.

       20.     Defendant classified and paid Plaintiff, as well as the members of the FLSA

Collective and the State Law Class, as non-exempt employees.




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       21.     At all times relevant, Plaintiff and members of the FLSA Collective and the State

Law Class were employees within the meaning of 29 U.S.C. § 203(e) and Ohio law, O.R.C. §§

4111.03, 4111.10, 4113.15(A).

       22.     At all times relevant, Plaintiff and members of the FLSA Collective and the State

Law Class were employees engaged in commerce or in the production of goods for commerce

within the meaning of 29 U.S.C. § 207.

                 Defendant’s Unlawful Failure to Pay for All Hours Worked

       23.     The FLSA and Ohio law required Defendant to pay overtime compensation to its

employees at the rate of one and one-half times their regular rate of pay for the hours they

worked in excess of forty (40), and/or provided other pay requirements as applicable. 29 U.S.C.

§ 207; O.R.C. §§ 4111.03, 4111.10, 4113.15(A). See O.R.C. § 2307.60.

       24.     Plaintiff and members of the FLSA Collective and the State Law Class regularly

worked more than forty (40) hours in a single workweek.

       25.     Although Defendant suffered and permitted Plaintiff and members of the FLSA

Collective and the State Law Class to work more than forty (40) hours per workweek, Defendant

failed to pay Plaintiff and members of the FLSA Collective and the State Law Class overtime at

a rate of one and one-half times the regular rate of pay for all hours worked over forty (40) in a

workweek. As a result, Plaintiff and the members of the FLSA Collective and the State Law

Class were willfully not properly paid overtime compensation for their overtime hours worked as

required by the FLSA, 29 U.S.C. § 207, and Ohio law, O.R.C §§ 4111.03, 4111.10, 4113.15(A),

see O.R.C. § 2307.60.

       26.     Instead of compensating Plaintiff Clark and the members of the FLSA Collective

and State Law Class at one and one-half times their regular hourly rates for hours more than




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forty (40) hours per workweek, as further explained below, Defendant paid Plaintiff and the

members of the FLSA Collective and the State Law Class less than one and one-half times their

regular hourly rates for hours more than forty (40) hours per workweek. Defendant shortchanged

its non-exempt employees and failed to pay overtime compensation through unlawful practices

that do not pay all overtime hours worked at one and one-half times their regular hourly rates for

hours more than forty (40) hours per workweek.

       27.     In addition, instead of compensating Plaintiff Clark and the members of the State

Law Class for all non-overtime hours worked each workweek, as further explained below,

Defendant did not pay Plaintiff and the members of the State Law Class for all non-overtime

hours worked under forty (40) hours per workweek. Defendant shortchanged its non-exempt

employees and failed to pay straight time, non-overtime compensation through unlawful

practices that do not pay all non-overtime hours worked.

       28.     Defendant consistently, willfully, and intentionally failed to pay Plaintiff and the

members of the FLSA Collective and the State Law Class for all hours, including overtime

hours, worked, at the statutory overtime rate required, 29 U.S.C. § 207, see O.R.C. §§ 4111.03,

4111.10, 4113.15(A), 2307.60, as well as failed to pay all non-overtime hours worked under

forty (40) hours per workweek by Plaintiff and the members of the State Law Class.

       Defendant’s Failure to Pay for All Time Worked when Plaintiff and Other
      Members of the FLSA Collective and the State Law Class Access and Log Into /
            Out of Defendant’s Computer Systems, Applications, and other
               Systems, and Performed Other Job Duties and Activities

       29.     Plaintiff and other members of the FLSA Collective and the State Law Class were

required by Defendant to perform unpaid work before clocking in each day, including but not

limited to starting and logging into Defendant’s computer systems, multiple software

applications, and computer programs. By way of example, on a daily basis, Plaintiff Clark, and



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other members of the FLSA Collective and State Law Class, was required to boot up her

computer, start and log into Defendant’s secured computer systems, multiple software

applications, and computer programs, and ensure that each program/system is running correctly.

At the beginning of their shifts and prior to being paid, Plaintiff’s and other members of the

FLSA Collective’s and the State Law Class’s computers also sometimes crashed or had other

information technology (“IT”) issues – which required troubleshooting and/or correspondence

with supervisors, administrative personnel, and/or Defendant’s IT department – which was also

not compensated.

       30.     Booting up computers, starting and logging into Defendant’s computer systems,

multiple software applications, and computer programs, and ensuring that each program/system

is running correctly including addressing IT issues is required by the nature of the work

performed, is required by Defendant, is performed for Defendant’s benefit, constitutes part of

Plaintiff’s and other members of the FLSA Collective’s and the State Law Class’s principal

activities, and/or is a necessary and indispensable part of their principal activities.

       31.     Moreover, part of the jobs they were hired to perform included booting up

computers, starting and logging into Defendant’s computer systems, multiple software

applications, and computer programs, and ensuring that each program/system is running

correctly, and addressing IT issues as necessary. Plaintiff and other members of the FLSA

Collective and the State Law Class used Defendant’s computers, applications, internal systems,

and other programs throughout their entire workday and necessarily required these tools to

perform their jobs. Defendant could not eliminate Plaintiff’s and other members of the FLSA

Collective’s and the State Law Class’s job duties – including starting and logging into

Defendant’s computer systems, multiple software applications, and computer programs, and




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ensuring that each program/system is running correctly including addressing IT issues – without

eliminating Plaintiff’s and other members of the FLSA Collective’s and the State Law Class’s

ability to perform their jobs. Plaintiff and other members of the FLSA Collective and the State

Law Class cannot perform their work without booting up computers, starting and logging into

Defendant’s computer systems, multiple software applications, and computer programs, and

ensuring that each program/system is running correctly, as well as addressing various IT issues,

such as computer crashes and troubleshooting.

        32.     These activities are thus compensable as they are “integral and indispensable to

the principal activities that [Plaintiff Clark and other members of the FLSA Collective and the

State Law Class are] employed to perform [as these activities are an] intrinsic element of those

activities and one with which [these workers] cannot dispense” if these workers are to perform

their principal job activities.9

        33.     Moreover, clear, unambiguous authority from the Department of Labor required

that, for computer-based agents / specialists / representatives, “starting the computer to download

work instructions, computer applications, and [accessing] work-related emails” must be paid as

compensable time.10

        34.     However, while Plaintiff Clark and other members of the FLSA Collective and

the State Law Class require approximately five (5) to ten (10) minutes to complete these job

duties prior to the start of their shifts every day, Defendant arbitrarily fails to count this work

performed by Plaintiff and other members of the FLSA Collective and the State Law Class as

hours worked.



9
 Integrity Staffing Sols., Inc. v. Busk, 574 U.S. 27, 33-34, 135 S. Ct. 513, 517 (2014).
10
  Available at https://www.dol.gov/agencies/whd/fact-sheets/64-flsa-call-centers (last accessed
Jan. 30, 2025).


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         35.   If Plaintiff Clark and other members of the FLSA Collective and the State Law

Class have not booted up their computers, started and logged into Defendant’s computer

systems, multiple software applications, and computer programs, and ensured that each

program/system is running correctly at shift start, they will be subject to discipline, including,

but not limited to, disciplinary “points,” poor performance evaluations, warnings, and ultimately

termination. This requires Plaintiff Clark and other members of the FLSA Collective and the

State Law Class to be logged in and have loaded all of the work-related computer systems,

multiple software applications, and computer programs, prior to the start of their shift. As a

result, the only way to be ready on time, and avoid discipline, is to perform compensable work

“off-the-clock,” including by booting up computers, starting and logging into Defendant’s

computer systems, multiple software applications, and computer programs, and ensuring that

each program/system is running correctly, as well as addressing IT issues, in advance of their

shift starting time and without pay.

         36.   Plaintiff and other members of the FLSA Collective and the State Law Class were

also required by Defendant to perform unpaid work after their shift ended each day including,

but not limited to, completing job duties after their last call, including sending emails,

documenting calls, corresponding with supervisors, and generally performing the duties of their

jobs, as well as closing and logging out of Defendant’s computer systems, multiple software

applications, and computer programs (hereinafter, together with the beginning of shift activities

outlined in paragraphs 29-35 above, referred to as “beginning and end of shift job duties”). To

the extent Plaintiff’s and other members of the FLSA Collective’s and the State Law Class’s

shifts ran over up to seven (7) minutes after their shift ending times, they were not paid for this

time.




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        37.     Defendant arbitrarily failed to count the pre- and post-shift work described above

and as performed by Plaintiff and other members of the FLSA Collective and the State Law

Class as hours worked.

        38.     Plaintiff and other members of the FLSA Collective and the State Law Class

performed this unpaid work every workday, and it constituted a part of their fixed and regular

working time.

        39.     This unpaid work performed by Plaintiff and other members of the FLSA

Collective and the State Law Class was practically ascertainable to Defendant. There is no

practical administrative difficulty of recording this unpaid work.

        40.     The requirement to work overtime by Plaintiff and other members of the FLSA

Collective and the State Law Class, including the off the clock beginning and end of shift job

duties described above, was unavoidable due to their job duties and instructions, and remote

employees were required to work unpaid overtime hours, including the pre-shift compensable

work described above, to complete their job duties. Defendant’s illegal pay practices were the

result of systematic and company-wide policies originating at the corporate level. Defendant’s

failure to compensate Plaintiff and other members of the FLSA Collective and the State Law

Class for hours worked more than forty (40) hours per week at “one and one-half times” the

employees’ “regular rate[s]” of pay – as a result of Defendant’s failure to pay all compensable

pre- and post-shift work – constitutes a knowing and willful violation of the FLSA, 29 U.S.C. §

207.

        41.     Moreover, and to the extent that part of their time worked was captured by

Defendant’s timekeeping system, Defendant has a time rounding and/or editing policy, and time

manipulation practices in conformity with this policy, that led to less time paid than time worked




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for Plaintiff, and for the members of the FLSA Collective and the State Law Class, at the

beginning and the end of their workdays.

       42.     At the beginning of their workdays, Plaintiff and the members of the FLSA

Collective and the State Law Class performed the principal activities of their jobs and clocked in,

as outlined in paragraphs 29-35 above, but Defendant generally did not pay them for all of their

time worked. Likewise, Plaintiff Clark and the members of the FLSA Collective and the State

Law Class clocked out and continued to perform compensable work at the end of their workdays,

but Defendant generally did not pay them for all of their time worked, as outlined in paragraph

36 above. Instead, Defendant paid them based on incomplete, post-edited, rounded, modified,

and/or inaccurate records which do not include all compensable work required by, performed for,

and to the benefit of Defendant.

       43.     That is, in addition to failing to pay Plaintiff and the members of the FLSA

Collective and the State Law Class for all time spent performing beginning and end of shift job

duties, Defendant further willfully manipulated both the beginning and end of shift time records

as recorded in the timekeeping system of Plaintiff and the members of the FLSA Collective and

the State Law Class to reflect less time worked when Defendant submitted these employees’

records to payroll, resulting in less time paid than time worked.

       44.     Although Defendant suffered and permitted Plaintiff and the members of the

FLSA Collective and the State Law Class to work more than forty (40) hours per workweek,

Defendant failed to pay Plaintiff and the members of the FLSA Collective and the State Law

Class overtime at a rate of one and one-half times the regular rate of pay for all hours worked

over forty (40) in a workweek. See 29 C.F.R. §§ 785.11, 785.13. Though Plaintiff and the

members of the FLSA Collective and the State Law Class regularly complete tasks that are




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required by Defendant, are performed for Defendant’s benefit, and constitute part of their

principal activities and/or are integral and indispensable to their principal activities before their

shift starting times (and after shift ending times), these workers are not paid for the time spent

performing these tasks because Defendant unilaterally deducted this time worked, and Defendant

sat back and accepted the benefits of this work without compensating them for this work,

regardless of the fact that compensable work was completed. See 29 C.F.R. §§ 785.11, 785.13.

As a result, Plaintiff and the members of the FLSA Collective and the State Law Class were not

properly paid for many of their hours worked as required by the FLSA and Ohio law.

       45.     In addition to failing to pay Plaintiff and the members of the FLSA Collective and

the State Law Class for all beginning and end of shift job duties, Defendant further shortchanged

Plaintiff Clark and the members of the FLSA Collective and the State Law Class and avoided

paying overtime compensation through Defendant’s unlawful time rounding and/or editing

policy, and time manipulation practices in conformity with this policy. Defendant intentionally,

knowingly, and willfully deducted time worked to reduce labor costs notwithstanding that

Defendant’s editing and/or rounding time manipulation policies violate Department of Labor

regulations which require both that employees’ time be rounded “to the nearest 5 minutes, or to

the nearest one-tenth or quarter of an hour” and that the method “will not result, over a period of

time, in failure to compensate the employees properly for all the time they have actually

worked.” 29 C.F.R. § 785.48(b).

       46.     Moreover, Defendant utilizes a time rounding/editing system that has been rigged

in Defendant’s favor and is willfully designed to pay less time work than time paid. As a result,

Plaintiff Clark and the members of the FLSA Collective and the State Law Class have not been

able to benefit from Defendant’s rounding system; instead, the rounding system has resulted in,




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over a period of time, the failure to pay Plaintiff Clark and the members of the FLSA Collective

and the State Law Class for all hours worked, in violation of the FLSA, 29 C.F.R. § 785.48(b),

and Ohio law.

       47.      Defendant’s pay practices were the result of systematic and company-wide

policies originating at the corporate level. Defendant’s policies resulted from knowing or

reckless executive decisions. Pursuant to the FLSA, 29 CFR § 785.13, Defendant Cleveland

Clinic “cannot sit back and accept the benefits [of additional work completed by Plaintiff Clark

and other members of the FLSA Collective and the State Law Class] without compensating for

them.” “Management has the power to ….[and] must make every effort to” ensure all work

completed before, and after, shifts was paid in accordance with the FLSA and state law. See id.

       48.      Defendant, through its supervisors and managers, knew that Plaintiff Clark, and

the members of the FLSA Collective and the State Law Class, were working the time for which

they were not paid, and thus Defendant’s actions were deliberate and willful within the meaning

of the FLSA, and Defendant lacked a good faith basis for its actions. Defendant knew about the

overtime compensation requirements of the FLSA or acted in reckless disregard as to

Defendant’s obligations under the FLSA.

       49.      As a result of Defendant’s time manipulation and pay deprivation

policies/practices, Plaintiff Clark, and the members of the FLSA Collective and the State Law

Class, were not paid for all hours worked, including overtime and non-overtime hours worked.

As a result of the time rounding/editing employed by Defendant, Defendant’s rounding/editing

practices have created a system that virtually always rounds against Plaintiff Clark, and the

members of the FLSA Collective and the State Law Class, and the rounding is nearly always in

Defendant’s favor. The time deprivation and time rounding policies also caused Defendant to




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violate the FLSA, Ohio law, and the Department of Labor regulations by docking compensable

hours and pay, and thereby failing to pay for all hours suffered or permitted to work. 29 C.F.R.

§§ 785.48, 785.13.

       50.      The unpaid and/or deducted time worked was compensable as overtime or straight

time hours worked as the work was required by Defendant; the work was performed for

Defendant’s benefit and constituted part of employees’ principal activities; and the work was a

necessary, integral, and indispensable part of their principal activities. However, it was not fully

paid on a straight time regular rate basis (during non-overtime weeks), nor was overtime for it

paid at the rate of one and one-half times the regular rate for the hours worked in excess of forty

(40) (during overtime weeks), as required by the FLSA. Although Plaintiff Clark, and the

members of the FLSA Collective and the State Law Class, performed their actual, principal job

duties when they begin working in the beginning of the workday, and until they stop working at

the end of the workday, Defendant did not pay this time worked, which was required to be paid

as hours worked under the FLSA. Had Defendant implemented time recordation and time

rounding policies in compliance with the FLSA and Department of Labor regulations, Plaintiff

Clark, and the members of the FLSA Collective and the State Law Class, would have been

compensated for additional overtime and non-overtime hours for which they were not paid.

                                Defendant’s Unjust Enrichment

       51.      Furthermore, Defendant was unjustly enriched by the retention of hourly wages

that were earned and that rightfully belong to Plaintiff and the State Law Class. Defendant was

unjustly enriched in that it induced Plaintiff and the State Law Class to perform work for the

benefit of Defendant and retained the benefit of this work without having either paid or fully paid

for the same.




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       52.     While Defendant represented to Plaintiff and the State Law Class that they would

be paid for all time spent working for, and to the benefit of, Defendant, Defendant failed to pay

for all hours worked that Plaintiff and the State Law Class were entitled to be paid, including all

non-overtime hours worked up to and including forty (40) hours worked each workweek during

their employments.

       53.     At the end of the workday and/or workweek and after the work was performed,

while operating under the understanding that they would be paid the agreed, straight-time hourly

rate for all non-overtime hours worked, Defendant arbitrarily and without prior notice failed to

pay for all hours worked. Plaintiff and the State Law Class were ultimately not paid for all non-

overtime hours worked at the straight-time hourly rates they were entitled to be paid, including

as a result of Defendant’s failure to pay Plaintiff and the members of the FLSA Collective and

the State Law Class for all beginning and end of shift job duties, as well as unlawful rounding

and/or editing policy, and time manipulation practices in conformity with this policy.

       54.     Although Plaintiff and the State Law Class satisfied the requirements of getting

paid for all non-overtime hours at the straight-time hourly rate – by virtue of working, pursuant

to Defendant’s policies, practices, and requirements – Plaintiff and the State Law Class were not

paid for all hours worked in full as they were entitled.

       55.     Defendant was unjustly enriched from Plaintiff and the State Law Class by failing

and/or refusing to pay earned wages.

       56.     Plaintiff and the State Law Class reasonably expected to be paid for all non-

overtime hours work at the straight time hourly rates they expected to be paid.

       57.     However, while Defendant knew that Plaintiff and the State Law Class worked

for all the hours that improperly remain unpaid in full, Defendant nevertheless failed to pay for




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all hours worked because of Defendant’s improper pay deprivation and time rounding and/or

editing policies, and time manipulation practices in conformity with these policies, resulting in

less compensation paid than compensation earned and owed.

       58.     Defendant benefited from the fruits of Plaintiff’s and the State Law Class’s

unpaid labor. Not only did Defendant benefit from Plaintiff and the State Law Class by

wrongfully retaining the actual monies that should have been paid to Plaintiff and the State Law

Class as non-overtime wages, Defendant also benefited in the form of increased sales, increased

profits, increased ability to compete on the price of Defendant’s products and healthcare services

made available to its customers, potential customers and the general public, increased revenue,

increased payments/bonuses to executive employees and/or other stakeholders, increased

interest, increased volume, and increased market share, by using the nonpaid wages in

furtherance of its business purposes.

       59.     Allowing Defendant to retain the benefits provided by Plaintiff and the State Law

Class under the circumstances presented as outlined above is demonstrably unjust.

       60.     As a direct and proximate result of Defendant’s unjust enrichment described

herein, Plaintiff and the State Law Class have been damaged in an amount to be determined at

trial, including but not limited to all non-overtime hours worked by Plaintiff and the State Law

Class but not paid by Defendant at their straight time hourly rates required to be paid.

                            Defendant’s Record Keeping Violations

       61.     The FLSA and Ohio law required Defendant to maintain accurate and complete

records of employees’ time worked and amounts earned and paid. 29 U.S.C. § 211(c); 29 C.F.R.

§§ 516.2, 516.5, 516.6, 516.7; O.R.C §§ 4111.08, 4111.14(F); Ohio Const. Art. II, § 34a.




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       62.     For example, federal regulations require employers to make and keep payroll

records showing information and data such as the employee’s name, occupation, time of day and

day of week which the workweek begins, regular hourly rate of pay for any week in which

overtime compensation is due, hours worked each workday and total hours worked each

workweek, total daily or weekly straight time earnings, total premium pay for overtime hours,

total wages paid each pay period, and date of payment and pay period covered by the payment.

29 C.F.R. § 516.2.

       63.     Ohio law also provides that employers “shall maintain a record of the name,

address, occupation, pay rate, hours worked for each day worked and each amount paid an

employee for a period of not less than three years following the last date the employee was

employed.” Ohio Const. Art. II, § 34a.

       64.     Upon information and belief, Defendant failed to keep complete and accurate

records of all hours worked by Plaintiff and of the members of the FLSA Collective and the State

Law Class for all beginning and end of shift job duties. To the extent that Defendant kept some

records of time worked in Defendant’s timekeeping system, at the time that these records were

transmitted to payroll for compensation purposes, Defendant willfully and intentionally

transmitted post-edited, rounded, modified, and inaccurate and/or incomplete records which do

not include pre- and post-shift compensable work required by, performed for, and to the benefit

of Defendant, which had the direct effect of reducing Defendant’s labor costs to the detriment of

Plaintiff and the members of the FLSA Collective and the State Law Class. Thus, Defendant

willfully and intentionally did not properly record and pay all hours worked in violation of the

FLSA and violated the FLSA and Ohio law record keeping requirements.




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                          The Willfulness of Defendant’s Violations

       65.     In addition to the above allegations demonstrating the willfulness of Defendant’s

wage violations as provided for above, Defendant knew or should have known, as a substantial

employer, in accordance with its obligations under the FLSA and Ohio law, that its workers,

including Plaintiff and the members of the FLSA Collective and the State Law Class, were

entitled to overtime compensation under federal and state law.

       66.     By denying Plaintiff, and the members of the FLSA Collective and the State Law

Class, overtime compensation as required by the FLSA, Defendant’s acts were not based upon

good faith. Through legal counsel as well as industry experience and custom, Defendant

possessed ample access to the regulations and statutory provisions requiring the proper and

prompt payment of overtime compensation under federal and Ohio law, as recited in this

Complaint, but either failed to seek out such information and guidance or did seek out the

information and guidance but failed to adhere to the principles of compliance as required.

Defendant therefore knew about the overtime compensation requirements of the FLSA and failed

to comply with them or acted in reckless disregard as to its obligations under these laws in

failing to comply with them.

       67.     Moreover, Defendant’s overtime compensation payment, and general wage

compensation payment, obligations were clearly known by Defendant, but nonetheless willfully

and intentionally disregarded.

       68.     For example, O.R.C. § 4111.09 provides that “[e]very employer subject to

sections 4111.01 to 4111.17 of the Revised Code, or to any rules issued thereunder, shall keep a

summary of the sections, approved by the director of commerce, and copies of any applicable

rules issued thereunder, or a summary of the rules, posted in a conspicuous and accessible place




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in or about the premises wherein any person subject thereto is employed.” As approved by the

Director of Commerce, this conspicuously-placed posting includes the language: “OVERTIME

… [a]n employer shall pay an employee for overtime at a wage rate of one and one-half times the

employee’s wage rate for hours in excess of 40 hours in one work week...”11

       69.     In addition, federal law requires employers subject to the FLSA’s wage

provisions, such as Defendant, to post, and keep posted, a notice explaining the overtime

provisions of the FLSA in a conspicuous place in all of their establishments so as to permit

employees to readily read it, which includes the language that the employer must pay

“OVERTIME PAY” at “[a]t least 1½ times the regular rate of pay for all hours worked over 40

in a workweek.”12

       70.     Upon information and belief, Defendant posts the notices required to be posted

under both Ohio law and the FLSA which each contain language outlining Defendant’s overtime

compensation requirements.

       71.     By complying with state and federal overtime payment notice posting

requirements, but nevertheless by not paying overtime compensation as required by these

overtime payment notices, Defendant indisputably knew of the overtime requirements of the

FLSA, or acted in reckless disregard for whether Plaintiff and members of the FLSA Collective

and State Law Class were entitled to overtime compensation. Despite Defendant’s knowledge of

the overtime provisions of the FLSA and Ohio law, including by physically posting notices

recognizing that Defendant was required to pay overtime compensation for all overtime hours




11
   See, e.g., https://com.ohio.gov/static/documents/2023MWPoster.pdf (emphasis original) (last
accessed Jan. 30, 2025) (emphasis original).
12
   https://www.dol.gov/sites/dolgov/files/WHD/legacy/files/minwagep.pdf (last accessed Jan.
Jan. 30, 2025) (emphasis original).


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worked, Defendant has, for many years, continued to fail to pay overtime wages for overtime

hours worked to Plaintiff and other members of the FLSA Collective and State Law Class.

         72.     In addition, Defendant Cleveland Clinic’s employee overtime wage compensation

practices and policies, including Defendant’s overtime underpayment practices and policies,

have previously been challenged – on several occasions – as willful attempts to circumvent the

FLSA and Ohio law, but Defendant has nevertheless continued to willfully and intentionally

underpay its employees overtime compensation.

         73.     Only by way of example, in the matter of Berger v. The Cleveland Clinic

Foundation, No. 1:05cv1508 (N.D. Ohio, filed May 27, 2005), Defendant Cleveland Clinic

previously agreed to pay a gross total of approximately $350,000 in overtime back wages and

other damages as a result of its alleged overtime underpayment practices and policies. In Berger,

a Class and Collective Action, Defendant Cleveland Clinic was accused of violating the FLSA,

including 29 C.F.R. § 785.13, the regulation cited above.13 In Berger, Defendant was put on

actual notice of the requirements of the FLSA, including 29 C.F.R. § 785.13, and Ohio overtime

wage law, and therefore thereafter had the mental awareness of the overtime requirements of the

FLSA, including those contained within 29 C.F.R. § 785.13. In Berger, Defendant Cleveland

Clinic settled the case in which it was accused of violating the overtime provisions of the FLSA,

and Ohio wage law, and agreed to pay the unpaid overtime wages that it failed to pay.

         74.     In addition, in the matter of Demell v. Cleveland Clinic Foundation, No.

1:08cv1111 (N.D. Ohio, filed May 2, 2008), Defendant settled a matter alleging that Defendant

violated the FLSA when Defendant terminated an employee who “raised the issue of non-




13
     Berger, ECF #1, Compl., at PageID #4-5, ¶ 16.


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payment of overtime wages and asked to be paid at a rate of time and one-half for hours worked

in excess of 40.”14 In Demell, Cleveland Clinic eventually settled the case.

       75.     Further, in the matter of Houchins, et al., v. The Cleveland Clinic Foundation, No.

1:10cv1159 (N.D. Ohio, originally filed on or about April 23, 2010, removed May 24, 2010),

Plaintiffs alleged that Defendant violated the Fair Labor Standards Act, 29 U.S.C. §§ 201-219

and the Ohio Minimum Wage Act, O.R.C. §§ 4111.01-99.15 Houchins also eventually settled.

       76.     Finally, in the matter of Minor v. Cleveland Clinic Health System, No. 1:18cv481

(N.D. Ohio, filed March 1, 2018), which also eventually settled, Plaintiff alleged that Defendant

failed to pay for all hours, including overtime hours worked, in violation of the FLSA and Ohio

wage law.

       77.     Moreover, Defendant Cleveland Clinic is a highly sophisticated employer, the

second-largest employer in Ohio “with 52,648 employees estimated to work in Ohio for the

international healthcare organization” as of 2022.16 This includes a medium-sized, in-house,

legal department of “29 lawyers and an additional 50 support personnel.”17 These attorneys

provide Defendant Cleveland Clinic with legal advice on a “a wide variety of areas, including…

risk management…, labor and employment, and corporate compliance.”18

       78.     Defendant, a highly, legally sophisticated employer with very clear notice of

federal and state overtime compensation payment requirements, given the previous suits for

violations of this very federal law on numerous occasions – having thus been repeatedly warned


14
   Demell, ECF #1, Compl., at PageID #2, ¶ 10.
15
   Houchins, ECF #10, Joint Motion to Approve Settlement Agreements and Joint Stipulation to
Dismiss Claims with Prejudice, at PageID #38.
16
   https://www.cleveland.com/data/2022/04/ranking-ohios-top-100-companies-for-total-
employment.html (last accessed Jan. 31, 2025).
17
   https://www.law.csuohio.edu/sites/default/files/currentstudents/clevelandclinic.pdf (last
accessed Jan. 31, 2025).
18
   Id.


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for more than a decade that its overtime underpayment practices have resulted in violations of

federal and state overtime law, and having agreed to pay out hundreds of thousands of dollars as

a result of its overtime underpayment practices and/or policies – has nonetheless continued to

willfully and intentionally underpay its employees overtime compensation.

        79.    Under these circumstances, Defendant’s violations of the FLSA were willful,

within the meaning of the FLSA inasmuch as Defendant had actual notice of the requirements of

the FLSA by virtue of earlier violations, prior settlements in numerous cases, and Defendant’s

agreements to pay alleged unpaid overtime wages resulting from earlier litigation.

        80.    Moreover, there was no practical administrative difficulty of recording this unpaid

work, and Defendant was aware of the actual hours worked by Plaintiff and the members of the

FLSA Collective and the State Law Class. However, at the time that the hours worked by

Plaintiff and the members of the FLSA Collective and the State Law Class were transmitted to

payroll for compensation purposes, Defendant willfully and intentionally transmitted inaccurate

and/or incomplete, post-edited, rounded, and modified records which do not include pre- and

post-shift compensable work required by, performed for, and to the benefit of Defendant, which

had the direct effect of reducing Defendant’s labor costs to the detriment of Plaintiff and the

members of the FLSA Collective and the State Law Class. Ultimately, Defendant altered hours

worked records in an attempt to get around overtime pay requirements. Thus, Defendant

willfully and intentionally did not properly record and pay all hours worked in violation of the

FLSA.

        81.    Inasmuch as Defendant’s violation of the FLSA was willful within the meaning of

the FLSA, Plaintiff and the members of the FLSA Collective are therefore entitled to liquidated

damages equal to the amount of all unpaid overtime compensation, pursuant to 29 U.S.C. § 260.




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          82.   In addition, Plaintiff and the members the State Law Class are entitled to recovery

under Ohio’s law providing for recoverable damages in this civil action for damages for criminal

acts, O.R.C. § 2307.60.

                     FLSA COLLECTIVE OVERTIME ALLEGATIONS
                                (As to COUNT ONE)

          83.   Plaintiff incorporates by reference the foregoing allegations as if fully rewritten

herein.

          84.   Plaintiff brings this case on behalf of a group of employees of Defendant (the

“FLSA Collective”) who assert claims under the overtime provisions of the FLSA in this case by

filing consent forms to join this action from this group of individuals:

          All current and former non-exempt (including but not limited to commission-
          based, production-based, hourly, and salaried) employees who worked
          remotely for Defendant in the United States during the period of three years
          preceding the commencement of this action to the present who worked forty
          (40) or more hours during any one workweek.19

          85.   Such persons are “similarly situated” with respect to Defendant’s FLSA overtime

violations, as to the collective group of employees identified above, in that all were non-exempt

employees of Defendant, all were subjected to and injured by Defendant’s unlawful practice of

failing to pay overtime compensation for all hours worked in excess of forty (40) per workweek,

and all have the same claims against Defendant for unpaid overtime compensation as well as for

liquidated damages, attorneys’ fees, and costs.

          86.   Plaintiff and the members of the FLSA Collective, having willfully been not paid

at least the federal overtime wage for the overtime hours they worked for Defendant pursuant to




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  Plaintiff reserves the right to amend and refine the definition of to whom she seeks to have
provided with Court-authorized notice based upon further investigation and discovery.


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the common policies described herein, are “similarly situated” as that term is used in 29 U.S.C. §

216(b) and the associated decisional law. See 29 U.S.C. § 207.

       87.     Plaintiff Clark and the members of the FLSA Collective are similarly situated

because, among other reasons, Plaintiff Clark, as well as the members of the FLSA Collective,

are owed approximately hundreds to thousands of overtime hours from working for Defendant

and for Defendant’s benefit for which they were not paid overtime compensation as a result of

Defendant’s failure to pay for all beginning and end of shift job duties, as well as a result of

Defendant’s time rounding and/or editing policies, and time manipulation practices in conformity

with these policies, that led to less time paid than time worked.

       88.     Plaintiff and the members of the FLSA Collective have been similarly affected by

the FLSA overtime violations of Defendant in one or more workweeks during the relevant time

period, which amount to a single decision, policy, or plan to willfully avoid paying all earned

federal overtime wages owed.

       89.     Plaintiff and the members of the FLSA Collective have been damaged by

Defendant’s willful refusal to pay at least the federal overtime wage for all overtime hours

worked. As a result of Defendant’s willful FLSA violations, Plaintiff Clark and the members of

the FLSA Collective are similarly situated to each other in that they are all entitled to damages,

including, but not limited to, unpaid wages, liquidated damages, costs, and attorneys’ fees.

       90.     Throughout her employment with Defendant, Plaintiff Clark was subjected to the

same timekeeping and payroll policies and practices by Defendant that the members of the FLSA

Collective were subjected to.

       91.     Plaintiff is similarly situated to the members of the FLSA Collective and will

prosecute this action vigorously on their behalf.




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       92.     Plaintiff is entitled to send notice to all potential members of the FLSA Collective

pursuant to Section 216(b) of the FLSA. Identification of potential members of the FLSA

Collective is readily available from the timekeeping and compensation records, including

timekeeping and payroll data, maintained by Defendant. For the purpose of notice and other

purposes related to this action, their names, addresses, email addresses, and phone numbers are

readily available from Defendant. Notice can be provided by means permissible under the FLSA

and decisional law.

       93.     Immediate, prompt notice of this matter to similarly situated persons pursuant to

29 U.S.C. § 216(b) – by Court order – is proper and necessary so that such persons may be sent a

Court-authorized notice informing them of the pendency of this action and giving them the

opportunity to “opt in.”

       94.     Court Supervised Notice pursuant to 29 U.S.C. § 216(b) to potential members of

the FLSA Collective is appropriate because they have been subjected to the common business

practices referenced in the paragraphs above, and the success of their claims depends upon the

resolution of common issues of law and fact, including, inter alia, whether Defendant satisfied

the FLSA’s requirements for payment of the statutory overtime wages.

       95.     The precise size and identity of the group of potential members of the FLSA

Collective are readily ascertainable from the payroll records, timekeeping records, and/or

employee and personnel records of Defendant that Defendant was required to maintain, pursuant

to the FLSA. Plaintiff cannot yet state the exact number of similarly-situated persons but avers,

upon information and belief, that the group of potential members of the FLSA Collective consist

of approximately one thousand or more persons.




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                             OHIO CLASS ACTION ALLEGATIONS
                        (As to COUNTS TWO, THREE, FOUR, and FIVE)

       96.        Plaintiff incorporates by reference the allegations contained in paragraphs 1

through 82, as if fully rewritten herein.

       97.        Plaintiff also brings this case as a class action pursuant to Fed. R. Civ. P. 23 on

behalf of herself and a group of employees of Defendant who assert claims under O.R.C. §§

4111.03, 4111.10, 4113.15(A), and 2307.60, as well as Ohio common law unjust enrichment

(referred to herein as the “State Law Class”), defined as:

       All current and former non-exempt (including but not limited to commission-
       based, production-based, hourly, and salaried) employees who worked
       remotely for Defendant in Ohio during the period of six years preceding the
       commencement of this action to the present.20

       98.        There are questions of law or fact common to the State Law Class, including, but

not limited to:

       Whether Defendant denied Plaintiff and other members of the State Law Class
       earned and owed compensation where, among other things, these employees were
       not paid wages for their overtime hours worked at the overtime rates required to be
       paid, as well as wages for their non-overtime hours worked but not paid;

       Whether Defendant’s denial of Plaintiff’s and other members of the State Law
       Class’s earned and owed compensation was a willful violation of federal and/or
       state law, entitling Plaintiff and other members of the State Law Class to liquidated,
       exemplary, punitive, and/or other damages pursuant to O.R.C. § 2307.60, O.R.C. §
       4113.15, and/or common law unjust enrichment, as applicable;

       Whether Defendant’s retention of the wages earned by Plaintiff and other members
       of the State Law Class results in inequity; and

       What amount of monetary relief will compensate Plaintiff and other members of
       the State Law Class for Defendant’s failure to pay all compensation, including
       overtime and non-overtime compensation, owed when the wages were required to
       be paid.


20
  The applicable statute of limitations under O.R.C. § 2307.60 and Ohio common law unjust
enrichment is six (6) years, and the applicable statute of limitations under O.R.C. §§ 4111.03,
4111.10, 4113.15(A) is two (2) years.


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        99.     Plaintiff’s claims are typical of the claims of other members of the State Law

Class. Plaintiff’s claims arise out of the same uniform course of conduct by Defendant, and are

based on the same legal theories, as the claims of other State Law Class members.

        100.    The State Law Class, outlined above, is so numerous that joinder of all class

members is impracticable. Plaintiff cannot yet state the exact number of class members but avers,

upon information and belief, that the State Law Class consists of approximately one thousand or

more persons. The number of class members, as well as their identities, are ascertainable from

the payroll and personnel records Defendant has maintained, and was required to maintain,

pursuant to the FLSA and Ohio law. 29 U.S.C. § 211(c); 29 C.F.R. §§ 516.2, 516.5, 516.6,

516.7; Ohio Const. Art. II, § 34a.

        101.    Plaintiff will fairly and adequately protect the interests of the State Law Class.

Plaintiff’s interests are not antagonistic to, but rather are in unison with, the interests of other

State Law Class members. Plaintiff’s counsel have broad experience in handling class action

litigation, including wage-and-hour litigation, and are fully qualified to prosecute the claims of

the State Law Class in this case.

        102.    The questions of law or fact that are common to the State Law Class predominate

over any questions affecting only individual members. The primary questions that will determine

Defendant’s liability to the State Law Class, listed above, are common to the State Law Class as

a whole, and predominate over any questions affecting only individual class members.

        103.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Requiring State Law Class members to pursue their claims

individually would entail a host of separate suits, with concomitant duplication of costs,

attorneys’ fees, and demands on court resources. Many State Law Class members’ claims are




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sufficiently small that they would be reluctant to incur the substantial cost, expense, and risk of

pursuing their claims individually. Certification of this case as a class action pursuant to Fed. R.

Civ. P. 23 will enable the issues to be adjudicated for all class members with the efficiencies of

class litigation.

                                          COUNT ONE
                                   (FLSA Overtime Violations)
               On Behalf of Plaintiff Clark and other Plaintiffs who Join this Action
                 (the FLSA Collective Members) Pursuant to 29 U.S.C. § 216(b)

        104.     Plaintiff incorporates by reference the allegations of paragraphs 1 through 95 as if

fully rewritten herein.

        105.     Plaintiff brings this claim for violation of the FLSA’s provisions on behalf of

herself and FLSA Collective Members, as previously defined.

        106.     The FLSA requires that non-exempt employees are entitled to overtime

compensation of “not less than one and one-half times” the employees’ “regular rate” of pay. 29

U.S.C. § 207(a)(1).

        107.     Plaintiff and members of the FLSA Collective should have been paid overtime

wages in the amount of 150% of their “regular rate” for all hours worked in excess of forty (40)

hours per workweek.

        108.     Defendant did not pay overtime compensation to Plaintiff and the members of the

FLSA Collective at the rate of one and one-half times their regular rate for all of their overtime

hours worked.

        109.     Defendant knowingly, willfully, and/or in reckless disregard carried out an illegal

pattern and practice of failing to pay Plaintiff and members of the FLSA Collective overtime

compensation. Defendant’s deliberate failure to pay all overtime compensation to Plaintiff and to

the members of the FLSA Collective was neither reasonable, nor was the decision not to pay all



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overtime compensation made in good faith. By engaging in these practices, Defendant willfully

violated the FLSA and regulations thereunder that have the force of law.

       110.    As a result of Defendant’s willful violations of the FLSA, Plaintiff and the FLSA

Collective members were injured in that they did not receive the full overtime wages due to them

pursuant to the FLSA. Under 29 U.S.C. § 216(b), this entitles Plaintiff and the members of the

FLSA Collective to the due overtime compensation as well as “an additional equal amount as

liquidated damages.” 29 U.S.C. § 216(b) further provides that “[t]he court … shall, in addition to

any judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid

by the defendant, and costs of the action.”

                                         COUNT TWO
                                  (Ohio Overtime Violations)
                                  On Behalf of Plaintiff Clark
                                and the State Law Class Members

       111.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 82, and

96 through 103, as if fully rewritten herein.

       112.    Plaintiff brings this claim for violation of the Ohio overtime compensation statute,

O.R.C. §§ 4111.03, 4111.10, on behalf of herself and the members of the State Law Class, under

the class action procedural requirements contained within Fed. R. Civ. P. 23, for the period of

two (2) years preceding the commencement of this action to the present.

       113.    At all times relevant, Defendant was an employer covered by the Ohio overtime

compensation statute, O.R.C. §§ 4111.03, 4111.10.

       114.    Ohio law requires that “an employer shall pay an employee for overtime at a wage

rate of one and one-half times the employee's wage rate for hours worked in excess of forty

hours in one workweek, in the manner and methods provided in and subject to the exemptions of




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section 7 and section 13 of the ‘Fair Labor Standards Act of 1938.’” O.R.C. § 4111.03(A); see

also 29 U.S.C. § 207(a)(1).

       115.    Ohio law also provides that employers who fail to pay overtime wages in

accordance with O.R.C. § 4111.03 are liable to the “employee[s] affected for the full amount of

the overtime wage rate, less any amount actually paid to the employee by the employer, and for

costs and reasonable attorney’s fees as may be allowed by the court.” O.R.C. § 4111.10.

       116.    While employed by Defendant, Plaintiff and the members of the State Law Class

worked in excess of the maximum weekly hours permitted under O.R.C. § 4111.03, but were not

fully paid overtime wages as outlined above.

       117.    Defendant’s failure to compensate overtime hours, as set forth above, violated the

Ohio overtime compensation requirements set forth in O.R.C. § 4111.03.

       118.    As a result of Defendant’s company-wide corporate policies and/or practices as

described herein, Defendant failed to pay Plaintiff and the members of the State Law Class all

overtime wages earned.

       119.    Defendant’s repeated, knowing failures to pay overtime wages to Plaintiff and

other members of the State Law Class were violations of the Ohio overtime law, and, as such,

Defendant willfully withheld and failed to pay the overtime compensation to which Plaintiff and

other members of the State Law Class are entitled. For Defendant’s violations of Ohio overtime

law, Plaintiff and the members of the State Law Class have suffered and continue to suffer

damages.

       120.    These violations of Ohio law injured Plaintiff and the members of the State Law

Class in that they did not receive wages due to them pursuant to Ohio overtime law, O.R.C. §§

4111.03, 4111.10.




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       121.    Having injured Plaintiff and the members of the State Law Class, Defendant is

“liable to the employee[s] affected for the full amount of the overtime wage rate, less any

amount actually paid to the employee[s] and for costs and reasonable attorney’s fees as may be

allowed by the court ” under Ohio law. O.R.C. § 4111.10.

                                     COUNT THREE
                    (Ohio Semimonthly Timely Wage Payment Violations)
                               On Behalf of Plaintiff Clark
                             and the State Law Class Members

       122.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 82, and

96 through 103, as if fully rewritten herein.

       123.    Plaintiff brings this claim for violation of Ohio law, O.R.C. § 4113.15(A), on

behalf of herself and the members of the State Law Class for the period of two (2) years

preceding the commencement of this action to the present.

       124.    In Ohio, an employee can recover wages under O.R.C. § 4113.15(A) that were

paid late for any reason.

       125.    O.R.C. § 4113.15(A) required Defendant to pay “on or before the first day of each

month … employees the wages earned by them during the first half of the preceding month

ending with the fifteenth day thereof, and shall, on or before the fifteenth day of each month, pay

such employees the wages earned by them during the last half of the preceding calendar month.”

       126.    As outlined above, Defendant did not, as required by O.R.C. § 4113.15(A), on or

before the first day of each month, pay all wages earned by Plaintiff and the members of the

State Law Class on or before the first day of each month, the wages earned by them during the

first half of the preceding month ending with the fifteenth day thereof, and did not, on or before

the fifteenth day of each month, pay these employees the wages earned by them during the last

half of the preceding calendar month.



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        127.   Defendant’s failure to timely pay Plaintiff and the members of the State Law

Class all wages, including overtime and non-overtime wages, violated Ohio’s semimonthly

payment of wage requirements, O.R.C. § 4113.15(A).

        128.   Plaintiff’s and the members of the State Law Class’s unpaid wages have remained

unpaid for more than thirty (30) days beyond their regularly scheduled payday in violation of

O.R.C. § 4113.15. By its acts and omissions described in this Complaint, Defendant has violated

Ohio’s semimonthly payment of wage requirements, O.R.C. § 4113.15(A), and Plaintiff and the

members of the State Law Class have been injured as a result.

        129.   Defendant’s violations of Ohio’s semimonthly payment of wage requirements,

O.R.C. § 4113.15(A), injured Plaintiff and the members of the State Law Class in that they did

not receive wages due to them in a timely fashion as required by Ohio law.

        130.   Defendant knowingly, willfully, and/or in reckless disregard carried out an illegal

pattern and practice of failing to pay Plaintiff, and the members of the State Law Class, all wages

owed in a timely fashion as required by Ohio law. Defendant’s deliberate failure to timely pay all

compensation owed to Plaintiff, and the members of the State Law Class, was neither reasonable,

nor was the decision not to pay in accordance with O.R.C. § 4113.15(A) made in good faith. By

engaging in these practices, Defendant violated Ohio law and regulations that have the force of

law.

        131.   As a result of Defendant’s violation of Ohio law, Plaintiff and the members of the

State Law Class are entitled to unpaid wages pursuant to O.R.C. § 4113.15(A).




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                                         COUNT FOUR
                         (Civil Action for Damages for Criminal Acts)
                                  On Behalf of Plaintiff Clark
                                and the State Law Class Members

       132.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 82, and

96 through 103, as if fully rewritten herein.

       133.    Plaintiff brings this claim pursuant to Ohio’s statue providing for Civil Violations

for Criminal Acts, O.R.C. § 2307.60, on behalf of herself and the members of the State Law

Class, for the period of six (6) years preceding the commencement of this action to the present.

       134.    At all times relevant, Defendant was an entity covered by the FLSA, 29 U.S.C. §

201, et seq., and Plaintiff and the members of the State Law Class have been employed by

Defendant within the meaning of the FLSA.

       135.    Defendant’s failure to compensate overtime hours worked “at a wage rate of one

and one-half times the employee's wage rate for hours worked in excess of forty (40) hours in

one workweek” was a willful violation of the FLSA, 29 U.S.C. § 201, et seq. Defendant’s failure

to timely pay Plaintiff and the members of the State Law Class all overtime wages was a willful

violation of the FLSA, 29 U.S.C. § 201, et seq.

       136.    By its acts and omissions described in this Complaint, Defendant has willfully 21

violated the FLSA, and Plaintiff and the members of the State Law Class have been injured as a

result. O.R.C. § 2307.60 permits anyone injured in person or property by a criminal act to

recover damages in a civil action, including exemplary and punitive damages.




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  29 U.S.C. § 216(a) provides that “[a]ny person who willfully violates any of the provisions of
section 215 of this title shall upon conviction thereof be subject to a fine of not more than
$10,000, or to imprisonment for not more than six months, or both.”


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       137.    Defendant’s willful violations of federal law injured Plaintiff and the members of

the State Law Class in that they did not receive wages due to them pursuant to these statutory

and/or other laws and regulations.

       138.    As a result of Defendant’s willful violations of the FLSA, Plaintiff and the

members of the State Law Class are entitled to exemplary and punitive damages pursuant to

O.R.C. § 2307.60.

                                         COUNT FIVE
                                      (Unjust Enrichment)
                                  On Behalf of Plaintiff Clark
                                and the State Law Class Members

       139.    Plaintiff incorporates by reference the allegations of paragraphs 1 through 82, and

96 through 103, as if fully rewritten herein.

       140.    Plaintiff brings this claim on behalf of herself and the State Law Class as a result

of Defendant’s suffering or permitting her and the State Law Class to work for their benefit and

for not paying them non-overtime wages for all the time that they worked due to one of more of

the pay policies/practices alleged above, under Ohio unjust enrichment common law, for the

period of six (6) years preceding the commencement of this action to the present.

       141.    As hereinabove alleged, Plaintiff and the State Law Class Members conferred a

benefit upon Defendant in that Defendant received a direct monetary benefit from employees by

retaining wages Plaintiff and the State Law Class were entitled to be paid. However, Plaintiff and

the State Law Class were not paid the hourly rates that they were entitled to be paid for all hourly

work completed as a result of Defendant’s pay policies/practices.

       142.    Defendant knew that it retained one or more benefits to the detriment of Plaintiff

and the State Law Class in the form of unpaid wages, but nevertheless failed to pay them

anyways.



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       143.    Defendant has been unjustly enriched at the expense of Plaintiff and the State

Law Class by the retention of hourly wages that were earned and that rightfully belong to

Plaintiff and the State Law Class. Defendant was unjustly enriched in that it induced Plaintiff and

the State Law Class to perform work for the benefit of Defendant and inequitably retained the

benefit of this work without having paid for the same.

       144.    Allowing Defendant to retain the benefits provided by Plaintiff and the State Law

Class – free, unpaid labor, including for all beginning and end of shift job duties – under the

circumstances presented as outlined above, is demonstrably unjust. Defendant has retained the

benefit of Plaintiff’s and the State Law Class’s services without compensating them, under

circumstances in which it would be unjust and unconscionable to permit Defendant to do so.

       145.    As a direct and proximate result of Defendant’s unjust enrichment, Plaintiff and

other members of the State Law Class have been damaged in an amount to be determined at trial,

including but not limited to all time worked by Plaintiff and other members of the State Law

Class but not paid by Defendant. As a result of Defendant having been unjustly enriched,

Plaintiff and the State Law Class are entitled to compensation for the value of the benefit

Plaintiff and the State Law Class conferred on Defendant.

       146.    Having injured Plaintiff and the State Law Class, Defendant is liable to Plaintiff

and the State Law Class in the full amount of regular wages that remain unpaid, pre- and post-

judgment interest as applicable, costs and reasonable attorney’s fees as may be allowed by the

Court, an award of damages representing Defendant’s employers’ share of FICA, FUTA, state

employment insurance, and any other required employment taxes, and such other and further

relief as provided under law.

                     [Plaintiff’s Prayer for Relief follows on the next page.]




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and all members of the FLSA Collective

and the State Law Class, respectfully prays that this Honorable Court:

       A.     Promptly order Defendant to provide all relevant policies and procedures
              regarding timekeeping and compensation, as well as all payroll, timekeeping
              (including, but not limited to, the times Plaintiff, the FLSA Collective, and State
              Law Class logged in/out, clocked in/out, punched in/out, and first/last accessed
              Defendant’s computer systems, software application(s), and/or any other system
              or application of Defendant), time rounding, time editing, and other relevant
              records, necessary to determine similarly situated individuals;

       B.     Promptly order Defendant to provide all contact information, including but not
              limited to names, dates of employment, addresses, telephone numbers, and email
              addresses, of similarly situated individuals;

       C.     Promptly issue Court-approved notice to similarly-situated persons informing
              them of this action, their ability to opt-in and become part of the FLSA Collective,
              and enabling them to opt in;

       D.     Toll the statute of limitations, freely, for all members of the FLSA Collective,
              from the date that this matter was initially filed until the date on which they file
              consents to join;

       E.     Certify this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf of
              Plaintiff and other members of the State Law Class;

       F.     Enter judgment against Defendant, and in favor of Plaintiff, the FLSA Collective,
              and the members of the State Law Class, declaring that Defendant’s activities, as
              alleged herein, violate the FLSA and Ohio law and enjoining Defendant from
              continuing to violate the FLSA and Ohio law, as well as awarding the relief set
              forth immediately below;

       G.     Award compensatory damages to Plaintiff and the members of the FLSA
              Collective pursuant to 29 U.S.C. § 216(b) in the amount of their unpaid overtime
              wages, as well as liquidated damages in an equal amount, in addition to penalty
              damages;

       H.     Award Plaintiff and other members of the State Law Class all wages not timely
              paid pursuant to O.R.C. § 4113.15(A);

       I.     Award exemplary and punitive damages under O.R.C. § 2307.60 to Plaintiff and
              members of the State Law Class;


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 J.    Award monetary relief to Plaintiff and the State Law Class in an amount sufficient
       to divest Defendant of the amounts gained by its unjust enrichment;

 K.    Designate Plaintiff as representative of the Fed. R. Civ. P. 23 State Law Class, and
       counsel of record as Class Counsel for the State Law Class;

 L.    Award Plaintiff, and the members of the FLSA Collective and the State Law
       Class, prejudgment interest, post-judgment interest, costs, and attorneys’ fees
       incurred in prosecuting this action, expert fees, as well as statutory and/or punitive
       damages and an award of damages representing Defendant’s employers’ share of
       FICA, FUTA, state unemployment insurance, and any other required employment
       taxes; and

 M.    Enter such other and further relief as this Court deems equitable, just, and proper.


                                              Respectfully Submitted,

                                              s/ Ryan A. Winters
                                              Joseph F. Scott (0029780)
                                              Ryan A. Winters (0086917)
                                              Kevin M. McDermott II (0090455)
                                              SCOTT & WINTERS LAW FIRM, LLC
                                              P: (216) 912-2221     F: (440) 846-1625
                                              11925 Pearl Rd., Suite 308
                                              Strongsville, Ohio 44136
                                              jscott@ohiowagelawyers.com
                                              rwinters@ohiowagelawyers.com
                                              kmcdermott@ohiowagelawyers.com

                                              and

                                              Seth R. Lesser*
                                              Christopher M. Timmel*
                                              KLAFTER LESSER LLP
                                              Two International Drive, Suite 350
                                              Rye Brook, NY 10573
                                              Telephone: (914) 934-9200
                                              seth@klafterlesser.com
                                              christopher.timmel@klafterlesser.com

                                              Attorneys for Plaintiff, proposed FLSA
                                              Collective Action Plaintiffs, and proposed
                                              Fed. R. Civ. P. 23 Class Counsel




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                                                  * Application to Proceed Pro Hac Vice to be
                                                  Filed.



                                    JURY DEMAND

 Plaintiff hereby demands a trial by jury on all issues so triable.

                                                  s/ Ryan A. Winters
                                                  Ryan A. Winters (0086917)




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